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                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Eunice A Vankannel                                                                               Case No.
                                                                                Debtor(s)                    Chapter     13

   X      Chapter 13 Plan                                                                   Amended Chapter 13 Plan

         COMES NOW, the Debtor(s) and files this Chapter 13 Plan. The projected disposable income of the Debtor(s) is submitted
to the supervision and control of the Chapter 13 Standing Trustee, and the Debtor(s) shall pay the following sums to the Chapter 13
Standing Trustee:

                                                                        PLAN PAYMENTS
 Payment Number by months                                                      Amount of Monthly Plan Payment
 1 - 36                                                                           $1,055.63

         The Debtor(s)(s) shall pay by money order, cashier's check or wage deduction, to Laurie K. Weatherford, Chapter 13
Standing Trustee, P.O. Box 1103, Memphis, Tennessee 38101-1103. The Debtor(s) name and case number must be indicated clearly
thereon and received by the due dates for payments established by court order.

                                                        PAYMENTS OF CLAIMS THROUGH THE PLAN

Attorney Fees

 Attorney Name                                                        Claim Amount          Payment Amount              Payment Month Numbers
 -NONE-

Priority Claims
The fees and expenses of the Trustee shall be paid over the life of the Plan at the rate allowed as governed by the guidelines of the
United States Trustee and
Name of Creditor                                    Claim Amount            Payment Amount             Payment Month Numbers
 -NONE-

Secured Claims
 Secured Creditor                                                     Claim Amount          Payment Amount              Payment Month Numbers
 Nationstar Mortgage                                                      413,854.09                950.00                       Mos 1-36

Secured Arrearage
 Name of Creditor                                                     Claim Amount          Payment Amount              Payment Month Numbers
 -NONE-

Secured Gap Payments
 Name of Creditor                                                     Claim Amount          Payment Amount              Payment Month Numbers
 -NONE-

Property to Be Surrendered:
 Creditor Name                                                                         Property Address:
 -NONE-

Valuation of Security:
 Name of Creditor                                                     Claim Amount          Payment Amount              Payment Month Numbers
 -NONE-

                                                (note: motion to value must be filed consistent with plan treatment)

Executory Contracts:
The following Executory Contracts are assumed:
Name of Creditor:                                                                 Description of Collateral\Month Numbers:
-NONE-



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The following Executory Contracts are rejected:
Name of Creditor:                                                                Description of Collateral:
-NONE-

Unsecured Creditors: whose claims are allowed shall receive a pro rate share of the balance of the funds remaining after payments to
Priority and Secured Creditors are made. Approximate percentage: 0 %

Property of the Estate revests in the Debtor(s) upon confirmation of the plan, OR upon completion of all plan payments and the
discharge of Debtor(s).

* Payment subject to loan modifiation approval and balloon payment of $163854.09


                                                                     CERTIFICATE OF SERVICE
         I/We hereby certify that a true and correct copy of this Chapter 13 Plan of Debtor(s) was furnished by United States mail,
postage prepaid, to All Creditors and Parties in Interest as listed on the Court’s Matrix as attached, this January 13, 2014.


                                                                             /s/ Eunice A Vankannel
                                                                             Eunice A Vankannel
                                                                             Debtor Signature

                                                                             /s/ David E. Borack
                                                                             David E. Borack 998303
                                                                             Attorney for Debtor
                                                                             Borack Law Group, P.A.
                                                                             1180 Harwood Avenue
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